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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal N o . 12-cr-11-01-JL

Braedon Bellavance, et al.

                                   O R D E R

      The assented to motion to reschedule jury trial (document n o . 99) filed

by defendant Bellavance is granted; continuance is limited to 30 days.           As

all co-defendants assent to a continuance, the following deadlines pertain

to all defendants: Final Pretrial is rescheduled to January 2 2 , 2013 at

2:00 p.m.; Trial is continued to the two-week period beginning February 5 ,

2013, 9:30 a.m. In addition to various filing deadlines contained in the

local rules, the parties shall also file any in limine motions no later than

ten (10) days prior to the final pretrial conference.          Objections to motions

in limine shall be filed no later than three (3) days prior to the final

pretrial conference.

      Defendant Bellavance shall file a waiver of speedy trial rights within

10 days.    The court finds that the ends of justice served by granting a

continuance outweigh the best interest of the public and the defendant in

a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for the reasons set forth

in the motion.

      SO ORDERED.


                                          Josep^f N. Laplante
                                          Chief Judge
Date:   December 2 6 , 2012

cc:   Counsel of Record
      U.S. Marshal
      U.S. Probation
